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SAO 245E (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants

Sheet 1 zfs
UNITED STATES DISTRICT COURT
Southern District of New York
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Organizational Defendants)
HDR GLOBAL TRADING LIMITED CASE NUMBER: 1:24CR00424-001 (JGK)

DAVID C. ESSEKS

Defendant Organization’s Attorney
THE DEFENDANT ORGANIZATION:

i pleaded guilty to count(s) ONE OF THE INFORMATION

[1] pleaded nolo contendere to count(s)

which was accepted by the court.

[1 was found guilty on count(s)

after a plea of not guilty.

The organizational defendant is adjudicated guilty of these offenses:

Title & Section = ——- Nature of Offense Offense Ended
The defendant organization is sentenced as provided in pages 2 through 9 of this judgment.

[1 The defendant organization has been found not guilty on count(s)

Count

ww Count(s) ALL OPEN COUNTS 0 is M are dismissed on the motion of the United States.

It is ordered that the defendant organization must notify the United States ara for this district within 30 days of any change

of name, principal business address, or mailing address until all fines, restitution, costs, an

changes in economic circumstances.

Defendant Organization’s

: r : special assessments imposed :
are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material

y this judgment

Federal Employer 1.D. No.: 1/15/2025
Date of Imposition of Judgment
Defendant Organization’s Principal Business Address: i
Suite 202, 2nd Floor .
Eden Plaza

Signatiye of Judge
Eden Island

Mahe, Seychelles

JOHN G. KOELTL, U.S.D.J.

Name of Judge Title of Judge

A 23/2 =

Date
Defendant Organization’s Mailing Address:

Suite 202, 2nd Floor
Eden Plaza

Eden Island
Mahe, Seychelles

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AO 245E (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet 1A

DEFENDANT ORGANIZATION: HDR GLOBAL TRADING LIMITED Judgment—Poge _2 of :
CASE NUMBER: 1:24CR00424-001 (JGK)

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
and (I); and

31 CFR 1026.210

18 USC 2

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AO 245E (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet 2 — Probation

Judgment—Page 3 of 9

DEFENDANT ORGANIZATION: HDR GLOBAL TRADING LIMITED
CASE NUMBER: 1:24CR00424-001 (JGK)

PROBATION

The defendant organization is hereby sentenced to probation for a term of :
2 years, unsupervised.

The defendant organization shall not commit another federal, state or local crime.

_ _ Ifthis judgment imposes a fine or a restitution Sbipste it is a condition of probation that the defendant organization
pay in accordance with the Schedule of Payments sheet of this judgment.

_, The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page (if indicated below).

--The defendant shall report to the Government and Probation Department the current state of its compliance
obligation to FinCEN, to assure that there are no U.S. users of its site within 30 days of the date of entry of the
judgment.

--The defendant shall report to the Government and Probation Department any change to its compliance program
described in above condition within 30 days during probation period.

--The defendant shall pay a $100 million fine, payable within 60 days from the date of entry of the judgment.

STANDARD CONDITIONS OF SUPERVISION
1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
as the organizations’s representative and to be the primary contact with the probation officer;

2) ne defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;

5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
litigation, or administrative proceeding against the organization;

6) the defendant organization shall not dissolve, change its name, or aage the name under which it does business unless this
judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the
defendant’s successors or assignees; and

7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.

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AO 245E (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet 3 — Criminal Monetary Penalties

DEFENDANT ORGANIZATION: HDR GLOBAL TRADING LIMITED Judgment—Page __4 of ;
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CRIMINAL MONETARY PENALTIES

The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

Assessment Fine Restitution
TOTALS $ 400.00 $ 100,000,000.00 $
[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.

(1 The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
below.

If the defendant organization makes a partial payment, each payee shall receive an anieoinnaely Be ortioned peyaeat unless specified
otherwise in the priority order or percentage payment column B.C:
be paid before the United States is paid.

= : = Total zi ee ee ae or ==

elow. However, pursuant to 18 U 3664(i), all nonfederal victims must

TOTALS $ 0.00 ¢

C1 Restitution amount ordered pursuant to plea agreement $

[] The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(1 The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:
[] the interest requirement is waived forthe [] fine [] restitution.

L the interest requirement forthe [] fine CO restitution is modified as follows:

* Findings for the total amount of losses are epic under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

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Sheet 4 — Schedule of Payments

DEFENDANT ORGANIZATION: HDR GLOBAL TRADING LIMITED Judgment—Page __5__ of 9
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SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A

B

C

D

[1 Lump sum payment of $ due immediately, balance due

C1 not later than , or
[] inaccordance with [] Cor [] Dbelow;or

[] Payment to begin immediately (may be combined with [JCor []D below); or

[] Payment in (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

YW Special instructions regarding the payment of criminal monetary penalties:

--The special assessment shall be due immediately.

--The fine is payable within 60 days from the date of entry of the judgment.

All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O

Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

The defendant organization shall pay the cost of prosecution.
The defendant organization shall pay the following court cost(s):

The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

